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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
______________________________________________________________________________
                                          )
EAT HERE BRANDS, LLC,                     )     Case No. 19-61688-wlh
                                          )
                                          )     Chapter 11
                                          )
                                          )
_____________________________________________________________________________


                        NOTICE OF WITHDRAWAL OF CLAIM

       On August 12, 2019, the Tennessee Department of Revenue (TDOR) filed proof of claim

no. 5 in the case of Eat Here Brands, LLC, Case No. 19-61688-WLH. Returns have been filed

and paid. TDOR hereby gives notice that it wishes to withdraw claim no. 5.




                                           Respectfully submitted,
                                           HERBERT H. SLATERY III
                                           Attorney General & Reporter

                                           /s/Stuart Wilson-Patton
                                           STUART WILSON-PATTON (GA Bar #769210)
                                           Senior Assistant Attorney General
                                           Bankruptcy Division
                                           Office of the Tennessee Attorney General
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                                           Nashville TN 37202
                                           Phone: (615) 532-2567
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                                           Stuart.Wilson-Patton@ag.tn.gov

                                           Attorney for TDOR




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                                CERTIFICATE OF SERVICE

        I do hereby certify that, on September 25, 2019, a true and exact copy of the foregoing
Notice of Withdrawal of TDOR Claim was duly served upon all parties of record who receive
notice electronically via the U.S. Bankruptcy Court’s CM/ECF system.

                                                     /s/Stuart Wilson-Patton
                                                     STUART WILSON-PATTON




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